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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION

 UNITED STATES OF AMERICA,                   CR 17-18-H-SEH

                     Plaintiff,

          vs.                                ORDER

 JAMES V. DAY,

                     Defendant.



      Upon Petition of Mark Smith and Jeffrey K. Starnes, Assistant United States

Attorneys for the District of Montana, and good cause appearing therefore,

      IT IS HEREBY ORDERED that the Clerk of This Court issue a Writ of

Habeas Corpus (for prosecution) directing the Warden of Montana State Prison,

the Sheriff of Cascade County and the United States Marshal for the District of

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Montana, to produce James V. Day (currently housed at the Cascade County Jail)

before the Court at the Magistrate Judge=s Courtroom in Great Falls, Montana, at

10:00 a.m. on Tuesday, November 14, 2017, and James V. Day is to stay in federal

custody until the conclusion of this case. James V. Day shall then be returned to

the custody of the Warden of Montana State Prison.

      DATED this 9th day of November, 2017.




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